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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW MEXICO


RANDY CUMMINGS, CRUZ GALLEGOS,
ROBERT J. GARCIA, RICHARD GONZALES,
ELOY A. JARAMILLO, DAVID LARRANAGA,
JOSEPH LOPEZ, RICK LOPEZ, DAVID
MONTANO, ANGELO RINALDI, CHRIS
SWEENEY, JOSH TILLINGHAST, TOMAS
TRUJILLO, JEFFREY S. WADE, JOSHUA
HOSELTON, CHARLES W. LEES, JAIME
MARQUEZ, ROBERT MENDOZA,
ARMANDO ANCHONDO, GUSTAVO
BERROSPE, REYES CABRIALES, SERGIO
ESCOBEDO, JASON HEAD, NICK HINOJOS,
ROBERT G. HITZMAN, MICHAEL LOPEZ,
JOSE RODRIGUEZ, SERGIO A. ROJO,
RICHARD TENORIO, CESAR TORRES,
GRANT WILLIS, HAROLD BROWN, RENE
CARRILLO, HENRY NEZ, JR., KURT
JOHNSON, JESUS AGUILAR-MURILLO,
MARTIN F. ALVAREZ, ARTHUR ARCHULETA,
ENRIQUE CORONA, RONALD HUBBARD,
ANDREW M. LUGO, HENRY LUJAN,
DAVID CARR, D. JEREMIAH CORDOVA,
KEVIN CHARVEA, NATHAN ESPALIN,
LEVI GUTIERREZ, DENNIS MOORE,
ROBERT MORENO, LEVI OLIVAS, THOMAS D.
PAYNE, and BRYAN WHEELER, on behalf of
themselves and all others similarly situated,

      Plaintiffs,


v.                                                  No. 16 CV 951 JAP/KK


CELINA BUSSEY, SECRETARY OF THE
NEW MEXICO DEPARTMENT OF WORKFORCE
SOLUTIONS, and JASON DEAN, as the DIRECTOR OF
THE LABOR RELATIONS DIVISION OF THE NEW MEXICO
DEPARTMENT OF WORKFORCE SOLUTIONS, in
their individual capacities,

      Defendants.
       Case 1:16-cv-00951-JAP-KK Document 45 Filed 02/15/19 Page 2 of 2



                                     FINAL JUDGMENT

       In accordance with the MEMORANDUM OPINION AND ORDER (Doc. 27) granting in

part DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT BASED UPON

QUALIFIED IMMUNITY (Doc. No. 17) (Motion), the ORDER OF DISMISSAL granting the

Motion as to Plaintiffs’ remaining claim, and Federal Rule of Civil Procedure 58, the Court

enters Final Judgment in favor of Defendants on all of Plaintiff’s claims, which are dismissed

with prejudice.




                                     SENIOR UNITED STATES DISTRICT JUDGE




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